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                          UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF LOUISIANA

 RENATA SINGLETON,
 MARC MITCHELL,
 LAZONIA BAHAM,
 JANE DOE,
 TIFFANY LACROIX,
 FAYONA BAILEY,
 JOHN ROE, and                                 CIVIL ACTION NO. 2:17-cv-10721
 SILENCE IS VIOLENCE,
                                               Section H
        Plaintiffs,                            JUDGE: JANE TRICHE MILAZZO

            v.                                 Division 1
                                               MAGISTRATE: JANIS VAN MEERVELD
 LEON CANNIZZARO, in his official
 capacity as District Attorney of Orleans
 Parish and in his individual capacity;

 GRAYMOND MARTIN,
 DAVID PIPES,
 IAIN DOVER,
 JASON NAPOLI,
 ARTHUR MITCHELL,
 TIFFANY TUCKER,
 MICHAEL TRUMMEL,
 MATTHEW HAMILTON,
 INGA PETROVICH,
 LAURA RODRIGUE,
 SARAH DAWKINS, and
 JOHN DOE,
 in their individual capacities;

        Defendants.
          MOTION FOR ADMISSION PRO HAC VICE OF MARIANA KOVEL

       Pursuant to Local Rule 83.2.5, Plaintiffs request that this Court allow Mariana Kovel of

the Trone Center for Justice and Equality at the American Civil Liberties Union Foundation

(ACLU) to be admitted pro hac vice as counsel of record for Plaintiffs in this matter. The
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Declaration and Certificate of Good Standing filed herewith satisfy the requirements of Local

Rule 83.2.5 for pro hac vice admission.

Respectfully submitted this 17th day of August 2018,

                                                           /s/ Bruce Hamilton
                                                           Bruce Hamilton
Anna Arceneaux                                             La. Bar No. 33170
Admitted pro hac vice                                      ACLU Foundation of Louisiana
American Civil Liberties Union Foundation                  P.O. Box 56157
201 West Main Street, Suite 402                            New Orleans, LA 70156
Durham, NC 27701                                           Tel. (504) 522-0628
Tel. (919) 682-5159                                        bhamilton@laaclu.org
aarceneaux@aclu.org

Somil Trivedi                                              Katherine Chamblee-Ryan*
Admitted pro hac vice                                      Alec Karakatsanis
American Civil Liberties Union Foundation                  Admitted pro hac vice
915 15th St., NW                                           Civil Rights Corps
Washington, DC 20005                                       910 17th Street NW
Tel. (202) 715-0802                                        Washington, D.C. 20006
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                                                           alec@civilrightscorps.org

COUNSEL FOR PLAINTIFFS

*Not licensed in the District of Columbia,
practice subject to D.C. App. R. 49(c)(8),
with supervision by Alec Karakatsanis, a
member of the D.C. Bar.
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                                CERTIFICATE OF SERVICE

       I hereby certify that on this 17th day of August, 2018, a copy of the foregoing document

was filed electronically through the Court’s CM/ECF filing system, and that service will be

provided through the CM/ECF system.



                                                                 /s/Bruce Hamilton
                                                                  Bruce Hamilton
